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Case 2:07-md-01873-KDE-MBN Document 17105

U.S. DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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UNITED STATES DISTRICT COU
EASTERN DISTRICT OF LOUISIANA
FILED} OCT 15 2010
IN RE: FEMA TRAILER MDL NO. i
FORMALDEHYDE PRODUCTS SECTIONIN MAG:
LIABILITY LITIGATION ft ETTA G. WHYTE
CLERK
THIS DOCUMENT PERTAINS TO JUDGE ENGELHARDT
Civi . 09-
ivil Action No. 09-7827 MAGISTRATE CHASEZ

Gussie Crawford, et. al.
Vs.
Frontier RV, Inc., et al.

JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-

referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

ROBERT C. HILLIARD

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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010 .

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

Frontier RV, Inc.

Bechtel National Inc.

CH2M Hill Construction, Inc.
Fluor Enterprises, Inc.

Shaw Environmental, Inc
